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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF MINNESOTA


Michael Horovitz, Doug Nelson, Jennifer                   Case No.: 12-CV-444 (RHK/JSM)
Lang, Terry Nelson, Richard Johnston, and
Warren Harder in their capacity as Trustees of
the Twin City Glaziers Health & Welfare Fund,
Stan Mariska, Larry Waller, Doug Nelson,
Terry Nelson, Richard Johnston, and Warren
Harder in their capacity as Trustees of the
Minnesota      Glaziers  &    Allied   Trades
Retirement Plan and Trust, Robert Swanson,
Jeff Schwartz, Thomas Stadler, Terry Nelson,
Craig Olson, and Mark Christianson in their
capacity as Trustees of the Finishing Trades
Institute of the Upper Midwest Trust Fund,
Mark Rislund, Neal Finke, Terry Nelson, Scott
Thompson, and Mark Christianson in their
capacity as Trustees of the Painters and
Allied Trades District Council 82 STAR
Program Trust, Michael Horovitz, Doug
Nelson, Jennifer Lang, Terry Nelson, Richard
Johnston, Warren Harder, Stan Mariska, Larry
Waller, Jeff Schwartz, Thomas Stadler, Craig
Olson, Mark Christianson, Mark Rislund, Neal
Finke, and Scott Thompson in their capacity
as Fiduciaries of the Labor Management
Cooperation Initiative, and the Finishing
Trades Institute,

              Plaintiffs,

vs.

ACG, Inc., Ford-Metro, Inc., and Swanson
Glass, Inc.,

              Defendants.


                            MEET-AND-CONFER STATEMENT

I, Amy L. Court, representing the Plaintiffs, hereby certify that:


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On January 15, 2013, January 25, 2013, January 28, 2013, January 30, 2103, January
31, 2013, February 8, 2013, February 12, 2013, February 13, 2013, February 14, 2013,
February 21, 2013, February 25, 2013 and February 26, 2013, counsel for the parties
communicated verbally or electronically in an attempt to resolve the discovery disputes.

As a result of the meet-and-confer, the parties:
(Check the box that applies.)

              ■ Do not agree on the resolution of any part of the motion.

              € Agreed on all or part of the motion and request that the Court incorporate
                the following agreement in an order:


Dated: March 13, 2013                       Signature of Party

                                              s/ Amy L. Court

                                            Mailing Address:

                                            800 Nicollet Mall, Suite 2600
                                            Minneapolis, MN 55402
                                            612-338-2525




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